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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
Tell Beharry,
                                    Plaintiff,                               18 CIVIL 2042 (AJN)

                 -against-                                                      JUDGMENT

The City of New York,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated October 19, 2020, Defendant’s

motion for summary judgment is granted with respect to Plaintiff’s Title VII claims, and the

Court declines to exercise supplemental jurisdiction over Plaintiff’s remaining claims under the

NYSHRL and NYCHRL; accordingly, this case is closed.


Dated: New York, New York
       October 19, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
